                 Case 8:19-bk-00770-MGW                  Doc 23          Filed 10/28/19   Page 1 of 2
[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: October 28, 2019




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                         Case No.
                                                                               8:19−bk−00770−MGW
                                                                               Chapter 7
Eric L. Baker

Patti S. Baker

________Debtor*________/



  ORDER ABATING MOTION TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND
 CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. SEC.
    362(B), (F), AND (M), (II)BID PROCEDURES, (III) SURCHARGE AGREEMENT BETWEEN
 SECURED LENDER AND THE ESTATE, (IV) SECURED LENDER'S RIGHT TO CREDIT BID, AND
                                      (V) OTHER RELIEF

   THIS CASE came on for consideration, without hearing, of the Motion to (I) Sell Property Free and Clear
of Liens, Claims, Encumbrances, and Interests Pursuant to 11 U.S.C. Sec. 363(b),(f), and (m), (II) Bid
Procedures, (III) Surcharge Agreement Between Secured Lender and the Estate, (IV) Secured Lender's Right
to Credit Bid, and (V) Other Relief by Traci Stevenson, Chapter 7 Trustee , Doc. # 22 . After review, the Court
determines that the motion , is deficient as follows:

         Service upon all creditors on the matrix using a current mailing matrix obtained from the
         Clerk of Court is not indicated or the current mailing matrix obtained from the Clerk of Court
         was not attached. Fed. R. Bankr. P. 2002(a), Fed. R. Bankr. P. 3015(g) and Local Rule
         9013−3(e).

         Service upon the Debtor at the Debtor's address of record is not indicated. Fed. R. Bankr. P.
         3007(a), 4003(b)(4) and 7004(b)(9).




   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected. No additional filing fee will be
assessed for the filing of any amended motion filed for the purposes of correcting the noted deficiency.
               Case 8:19-bk-00770-MGW               Doc 23      Filed 10/28/19       Page 2 of 2


The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
